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           IN THE UNITED STATES COURT OF APPEALS

                        FOR THE FIFTH CIRCUIT



UNITED STATES OF AMERICA,
                                             C.A. No. 18-30694
           Plaintiff-Appellee,
     vs.
                                             DC 5:11-CR-00062-21
                                             (W.D. Louisiana)
ROBERT CUFF,

           Defendant-Appellant.




       BRIEF IN SUPPORT OF MOTION FOR CERTIFICATE OF

                                 APPEALABILTY




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I. STATEMENT OF THE CASE

A. Introduction

      Pursuant to a plea agreement in case United States v. Cuff, 5:11-CR-

00062-21, Robert Cuff, a Navy veteran, pleaded guilty in the Western

District of Louisiana to engaging in a child exploitation enterprise (CEE), in

connection with an internet file-sharing website. Cuff shared child

pornography with other members of the website. During this time, Cuff was

also being investigated in the Western District of Texas for sexual abuse of a

child, stemming from videos found on his computer portraying such conduct.

Cuff and his lawyer, Stephen Karns, understood the Louisiana plea

agreement to promise that Cuff would not be prosecuted in Texas for the

criminal conduct displayed in the videos, but that the conduct would be used

in the Louisiana sentencing proceeding. However, notwithstanding the plea

agreement, two weeks after the Louisiana plea and unbeknownst to Cuff and

his attorney, Cuff was secretly indicted in the Western District of Texas in

United States v. Cuff, 11-CR-03016-KC, for possession of child pornography

and for sexual contact with a minor, the very conduct displayed in the videos.

ROA.18-30694.260-264.

      During the Louisiana guilty plea colloquy, Cuff’s statements to the

district court judge were strange and illogical at times. The trial court


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expressed concern about Cuff’s mental state, but not his competence. After

the plea, but before sentencing, several highly experienced mental health

professionals concluded that Cuff very likely suffered brain damage from his

past use of the anti-malarial drug mefloquine, a drug he had been ordered to

take during his military service. Based on the conclusions of the mental

health professionals, Cuff, represented by a new attorney, moved to withdraw

his plea. That motion was denied, and the district court sentenced him to life

imprisonment. His direct appeal was denied by this Court.

      Cuff then filed a motion pursuant to 28 U.S.C. § 2255 alleging the

government had breached the plea agreement by charging him in Texas. He

also alleged that Karns was ineffective in not adequately investigating his

mental state and possible mental defenses before advising him to plead

guilty. Cuff also alleged Karns was ineffective in not moving for a

competency hearing before sentencing. More than three years after the

Section 2255 motion was filed, the district court denied the motion and

denied a Certificate of Appealability (COA). The court also denied a

subsequent motion to alter the judgment made pursuant to Rule 59 of the

Federal Rules of Civil Procedure. Cuff filed a timely notice of appeal to this

Court from the district court’s denial of the motions. Cuff now asks the

Court to grant a COA on each of the issues set forth herein.


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B. Procedural history.

      In 2011, investigators in the Western District of Louisiana determined

that Cuff was uploading and exchanging child pornography with others in an

internet pornography ring. While conducting a search of Cuff’s house

pursuant to a warrant, law enforcement officers in the Western District of

Texas seized a computer containing multiple video files. The files included

videos of Cuff sexually abusing a five-year-old girl, the daughter of a woman

with whom Cuff had been involved.

       1. The Louisiana indictment.

      On August 10, 2011, a federal grand jury in the Western District of

Louisiana returned a superseding indictment charging Cuff with one count of

engaging in a child exploitation enterprise, in violation of 18 U.S.C.

§2252A(g) (Count 1), one count of conspiracy to advertise the distribution of

child pornography in violation of 18 U.S.C. §§ 2251(d)(1) and (e) (Count 2),

and one count of conspiracy to distribute child pornography in violation of 18

U.S.C. §§ 2252A(a)(2)(A) and (b)(1) (Count 3). ROA.18-30694.77-91.

      On October 17, 2011, and October 27, 2011, on defendant’s motion,

the district court entered orders permitting mental health professionals to

interview Cuff to evaluate his mental status. ROA.18-30694.116.117. The


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government was represented in the Western District of Louisiana by

Assistant United States Attorney Luke Walker, and in the Western District of

Texas by Assistant United States Attorney Brandy Gardes. Cuff, represented

by Karns, understood from AUSA Walker and AUSA Gardes that if Cuff

pleaded guilty in the Western District of Louisiana, there would be no

prosecution in the Western District of Texas. ROA.18-30694.256-258. Karns

and Cuff understood, however, that AUSA Walker in Louisiana would use

the video tapes recovered in Texas in the Louisiana sentencing. Id. The

prosecutors advised Karns of this resolution because they hoped to avoid

having the girl in the video testify at a Texas trial. ROA.18-30694.256.

      2. The Louisiana guilty plea and the Texas indictment.

       On December 1, 2011, Cuff pleaded guilty to the CEE crime in

 violation of 18 U.S.C. § 2252A (g). ROA.18-30694.856-885. The plea

 agreement expressly provided that if Cuff fulfilled his obligations under

 the agreement, then “the Government agree[s] to dismiss the remaining

 counts of the superseding indictment after sentencing and it will not

 prosecute the defendant for any other offense known to the United States

 Attorney’s Office, based on investigation which forms the basis of the

 Second Superseding Indictment.” ROA. 18-30694.976-977.

      Karns and Cuff understood the agreement to confirm that Cuff


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would not be prosecuted in the Western District of Texas. However,

unbeknownst to Karns and Cuff, and notwithstanding the plea agreement,

two weeks later on December 14, 2011, a federal grand jury in the Western

District of Texas returned a sealed indictment in Case No. 11-CR-3016 on

several counts of possession of child pornography and one count charging,

sexual abuse of the five year-old girl, which conduct was depicted on the

video filed found on Cuff’s computer. ROA.18-30694.260-264.

      On the same day the indictment was returned, the government

moved the Texas district court to seal the indictment on the purported

ground that “disclosure of the indictment would seriously jeopardize the

ability of law enforcement officers to locate and apprehend him.”

ROA.18-30694.265. The Texas district court ordered the indictment sealed

the same day. ROA.18-30694.266.

      3. The presentence report.

      On July 25, 2012, the final presentence investigation report (PSR) was

issued. ROA.18-30694.997-1013. The PSR calculated a total offense level of

43, reflecting a five-level increase pursuant to U.S.S.G. §§ 4B1.5(b)(1)

because the defendant “engaged in a pattern of activity involving prohibited

sexual conduct,” namely the sexual abuse of the five-year old child, which

was displayed on video files found on the defendant’s computer. ROA.18-


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30694.1004. The PSR stated that the government had no evidence that these

video files were ever uploaded to the internet but incorrectly noted that

“presently, no charges are pending against the defendant as a result of this

behavior.” PSR ¶ 22. ROA. 18-30694.1002. Cuff’s total offense level of 43

and his Criminal History Category of I correlated to an advisory range of life

in prison. No objections to the PSR were filed by any party. Sentencing was

ultimately set for July 13, 2012.

     4. The mental health evaluations, diagnosis of mefloquine intoxication,
and Cuff’s seizure while incarcerated.

      On May 10, 2012, two months before sentencing, at defense request,

Dr. Remington Nevin examined Cuff’s medical history, communicated by

telephone with Cuff, and with members of his family. Dr Nevin had a post-

doctoral fellowship at John Hopkins University, was Board Certified in

Preventive Medicine, and is an expert on the connection between the use of

mefloquine and resulting brain damage. See Resume at ROA.18-30694.684-

698. He has published much research resulting from clinical examinations of

military and civilian personnel experiencing the effects of mefloquine. See

e.g. Ritchie, Block, Nevin, Psychiatric Side Effects of Mefloquine, J. Am.

Academy Psychiatry Law 41:224-35 (2013). ROA.18-30694.645-656. See

also Nevin and Ritchie, The Mefloquine Intoxication Syndrome, (Springer

International Publishing 2015). ROA.18.30694.662-683.

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      Dr. Nevin prepared a comprehensive report with respect to his

conclusions regarding mefloquine’s deleterious effect on Mr. Cuff. ROA.18-

30694.1224-1226, 566. Dr. Nevin related that Cuff reported symptoms of

“abnormal dreams, anxiety, and paranoid reactions” as well as “profound

short-term memory loss.” ROA.18-30694.1225. Although Dr. Nevin did not

physically examine Cuff, he concluded that Cuff’s personality changes and

symptoms were “consistent with possible late neurotoxic effects of limbic

encephalopathy caused by repeated mefloquine intoxication,” resulting from

Cuff’s use of the anti-malarial drug while in the military. ROA.18-

30694.567, 1225. Dr. Nevin explained that mefloquine intoxication has been

associated with “a morbid fascination with violence and violent objects,

aggression, increased impulsivity, and sexual inhibition.” Id. (emphasis

added). In a subsequent affidavit filed on July 12, 2012, Dr. Nevin observed

that the areas of the brain that effect sexual deviancy “include the thalamus

and the hypothalamus [and that each area] is likely affected by mefloquine,

based on signs and symptoms observed in cases known to me.” ROA.18-

30694.170-171.

      About May 18, 2012, Cuff was found unresponsive in his cell after

complaining the prior evening of a headache. ROA.18-30694.563. He was

taken to LSU Health Center where he was admitted with a diagnosis of


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“altered level of consciousness and altered mental status, with a Glasgow

Coma Scale of 3.” Id. In Dr. Nevin’s opinion, Cuff’s symptoms were

“highly suspicious for a deep brain or brainstem seizure” and provided

“further support for the diagnosis of neurotoxic injury from his earlier use of

mefloquine.” Id. Dr. Nevin reviewed additional records and concluded that

they “further substantiate[d] the assessment” that Cuff likely “suffered a deep

brain or limbic seizure related to neurotoxicity from his early use of

mefloquine,” and that his condition was “chronic and unstable.” Id.

      Dr. Robert Stanulis is a highly experienced forensic psychologist and

neuropsychologist. For sixteen years he was the chief neuropsychologist at

the Oregon Comprehensive Epilepsy and Surgery program. ROA.18-

30694.1214. In that capacity, he evaluated many individuals before, during,

and after neurosurgery. Id. Dr. Stanulis has extensive experience and

knowledge about the role of limbic structures in behavior “including the

impact of limbic dysfunction on seizure disorders, perseverative obsessive

behavior, aggression, and sexual behavior.” Id.

      Dr. Stanulis examined Cuff over two days and concluded that Cuff’s

criminal behavior was “to a reasonable degree of medical and psychological

certainty caused by and the direct result of the adverse side-effects of the

mefloquine he was ordered to take in the military.” ROA.18.30694.1213. In


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his opinion Mr. Cuff’s criminal behavior was “but a part of the profound

neuropsychological and neurobehavioral changes resulting from disinhibition

caused by the limbic encephalopathy diagnosed by Dr. Nevin.”

ROA.18.30694.1217.

5. Karns’ sentencing memorandum.

        On June 29, 2012, Karns filed a sentencing memorandum with an

incorporated motion for downward departure. ROA.18-30694.1122-1151.

He urged the district court to impose a sentence of not more than 20 years.

Karns attached the psychological reports of Dr. Nevin, Dr. Stanulis, Dr.

Vigen, and Dr. William Brown.

        Karns also attached letters attesting to Cuff’s exemplary work record

while serving in the United States Navy. The exhibits showed Cuff was a

retired sailor who served in the Navy for more than 28 years. He rose to the

rank of Command Master Chief and received numerous medals and awards,

including the Iraq Campaign Medal with Star, the Meritorious Unit Service

Medal, the Navy/Marine Corps Commendation Medal, the Global War on

Terrorism Expeditionary Medal, the Global War on Terrorism Service

Medal, and the Joint Service Commendation Medal. ROA.18-30694.1123-

1124.




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        6. Schweitzer’s motions to substitute counsel and withdraw the guilty
plea.

        On July 5, 2012, shortly before the scheduled sentencing hearing,

Cuff’s family retained attorney Eric H. Schweitzer, who filed a motion to

substitute in as counsel to replace Karns. ROA.18-30694.134. In his motion

Schweitzer asserted that Cuff suffered from brain damage from the use of

mefloquine that might well constitute a defense to the charges. ROA.18-

30694.135-136. He asserted that Karns was incapable of providing Cuff with

competent legal advice in that regard. ROA.18-30694.137. In addition to his

motion, Schweitzer attached a draft motion to withdraw Cuff’s guilty plea.

ROA.18-30694.143-159. Schweitzer also requested a further continuance of

the sentencing proceedings.

        On July 10, 2012, the district court denied Schweitzer’s motion to

substitute counsel but permitted him to act as co-counsel. The court also

denied the request for a further continuance. ROA18-30694.167-168.

        On July 12, 2012, the day before the sentencing hearing, Schweitzer

filed the motion to withdraw Cuff’s guilty plea. ROA.18-30694.174-182. The

government opposed the motion in a response filed the next day. ROA.18-

30694.183-187. In the motion, Schweitzer asserted that the plea had been

entered without Cuff or Karns knowing or having investigated the defenses

available to Cuff to the accusations made against him. Schweitzer asserted

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that according to Doctors Nevin and Stanulis, Cuff suffered from brain

damage arising from his use of the anti-malarial drug mefloquine, which he

had been ordered to take while in the military. Schweitzer stated that

mefloquine has well known deleterious, psychiatric side effects. Schweitzer

argued that Cuff had defenses available of diminished capacity and insanity.

      In support of his motion, Schweitzer presented the district court with a

widely publicized CBS news report regarding mefloquine’s side effects:

      Last summer, four soldiers from Ft. Bragg were accused of
      killing their wives. Two of the men committed suicide, and the
      other two await trial…One possible suspect was mefloquine -
      brand name Lariam, an anti-malarial drug. It was invented by
      the U.S. Army and is routinely given to soldiers deployed
      overseas. In scientific terms, Lariam can cause neuropsychiatric
      adverse events. In plain language, it can make lose your
      mind….

David Kohn, the Dark Side of Lariam,
http://www.cbsnews.com/2100-500164_162-538144.html
(2009).

ROA.18-30694.176.

      Pointing to the evaluations of Dr. Nevin and Dr. Stanulis, Schweitzer

argued that when Cuff took mefloquine around 1993, the drug damaged his

brain, rendering him incapable of controlling unnatural urges. ROA. 18-

30694.176. Schweitzer moved to withdraw the plea and for a trial before the

judge alone, at which time the defense of insanity would be raised. ROA.18-

30694.181-182.

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7. The sentencing hearing.

      On July 13, 2012, the district court conducted a sentencing hearing

during which it also considered the motion to withdraw the guilty plea. In

essence, the court found that the conclusions of Dr. Nevin and Dr. Stanulis

about the effects of mefloquine on Cuff’s mental state were “more cutting-

edge theory than . . . accepted fact.” ROA.18-30694.893. The court reasoned

that Cuff carried out his job in the military with competence, but the sexual

assault displayed on the video showed a criminal personality.

      The court denied the motion to withdraw the plea. The court also

denied the motion for downward departure and sentenced Cuff to life in

prison. ROA.18-30694.193-195 (judgment).

       8. The direct appeal.

      On August 7, 2013, in an unpublished memorandum decision, this

Court affirmed the defendant’s conviction and sentence. United States v.

Cuff, 538 Fed.Appx. 411. ROA.18-30694.213-217. The Court rejected

Cuff’s claim that his plea was not entered knowingly and intelligently

reasoning as follows:

      The record reflects that, at the time of the re-arraignment, Cuff
      was regarded by his supervisors and peers as high functioning,
      his demeanor was not unusual, and no medical opinions bearing
      on competency had been presented. During the plea colloquy,
      Cuff responded to questions appropriately with no indication of
      mental deficiencies. There is no reason to believe that Cuff did

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      not comprehend and could not participate in the criminal
      proceedings.

Id. at 413; ROA.18-30694.214, 215.

      On appeal Cuff raised the issue of prosecutorial misconduct with

respect to the “the secret Texas prosecution” and claimed that this

prosecution prevented him from entering a constitutionally valid guilty plea.

The Court did not address the claim, stating that Mr. Cuff did not develop

facts supporting the claim on appeal. Id. On December 9, 2013, the United

States Supreme Court denied Cuff’s petition for a writ of certiorari. ROA.18-

30694.219.

      9. The motion pursuant to 28 USC § 2255.

      On December 6, 2014, represented by attorney Steven Hormel, Cuff

moved to vacate his conviction and sentence pursuant to 28 USC. § 2255.

ROA.18-30694.237, 324. Among other things, Cuff raised the following

claims: (1) The government breached its promise in the plea agreement not to

prosecute Cuff for another offense; (2) Attorney Karns was ineffective for

failing to move for a competency review before the sentencing under 18

U.S.C. § 4241; and (3) Attorney Karns was ineffective for failing to

investigate mental defenses of insanity or involuntary intoxication before

advising Cuff to plead guilty.




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      In connection with the claim of breach of the plea agreement, Cuff

introduced the declaration of Karns. ROA.18-30694.255-259. The

declaration, dated December 3, 2014, was obtained after conclusion of the

direct appeal. In his declaration Karns stated that he understood from the

Assistant United States Attorneys in Louisiana and Texas that Cuff would

only be prosecuted in Louisiana, not in Texas, although the videos seized in

Texas would be used in the sentencing proceedings in Louisiana.

      Karns “learned from AUSA Gardes that the State of Texas would not

be prosecuting Mr. Cuff.” ROA.18-30694.256. This would avoid having to

have the young girl testify at a trial. Id. Karns so advised Cuff. Karns

declared that his advice to Cuff to enter the guilty plea was predicated on the

understanding that if he pleaded guilty in Louisiana case, Texas would not

prosecute him. ROA.18-30694.257. Karns declared he was unaware of the

Texas indictment (which had been filed under seal). He said that had he been

informed of its existence, he would have advised Cuff not to plead guilty in

Louisiana. ROA.18-30694.255. Karns declared that in filing the Texas

indictment, “the government breached the plea agreement with Cuff.” ROA.

ROA.18-30694.258. Karns declared that because of his failure to advise Cuff

of the Texas indictment, Cuff’s plea of guilty was not knowingly and

intelligently entered and should, therefore, be vacated. ROA.18-30694.258.


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Karns further declared that had he learned of the indictment before the

sentencing, he would have moved the district court to vacate the guilty plea.

Id.

      On February 18, 2015, in the Western District of Texas, after receiving

reports from the BOP that Cuff was not mentally competent to proceed,

Judge Kathleen Cardone dismissed the Texas indictment on motion of the

government. Appendix 1. Pursuant to Fed.R.Ev. 201(c), the court is requested

to take judicial notice of the dismissal.

      On March 12, 2018, after having the matter under submission for more

than three years, the district court in Louisiana denied Cuff’s motion to

vacate his conviction in a written opinion. ROA.18-30694.425-442. The

court also denied a COA, holding that Cuff had failed to demonstrate a

substantial showing of the denial of a constitutional right. ROA.18-

30694.442. The court addressed the 2255 petition as follows:

      First, the court did not reach the merits of the claim that the

government breached the plea agreement. The court said the claim was

procedurally barred because Cuff had failed to show cause for his failure to

raise the claim on direct appeal. The court stated that appellate counsel

should have obtained Karns’s declaration “at the time he filed his Notice of

Appeal.” ROA.18-30694.431.


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      Second, the court denied the claim that Karns was ineffective in failing

to move for a competency hearing before Cuff entered his guilty plea or

before sentencing. The court pointed to the plea colloquy and to the

statements of Cuff, Karns and the U.S. Attorney that Cuff was competent.

ROA.18-30694.435.

      Third, the court denied the claim that Karns was ineffective in advising

Cuff to plead guilty because he failed to investigate mental defenses such as

insanity, involuntary intoxication, and diminished capacity. The court said,

“The decision not to pursue the insanity defense was strategic in the hopes of

getting Cuff the best possible deal.” ROA.18-30694.436. The court stated

further that “Karns had the opportunity to examine Cuff’s medical

evaluations and chose not to pursue a mental defense. Karns’ actions are

entitled to heavy deference.” Id.

      The court remarked that Cuff’s actions, specifically with the five-year

old girl, were not “connected to insanity” but rather were “connected to a

very cold, calculating purposeful defendant.” The court concluded further

that Karns was not ineffective in failing to further investigate Cuff’s potential

mental defenses “because such defenses would not have been viable.” ROA.

18-30694.438.




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      10. The filing of the Rule 59 motion

      Cuff then retained undersigned counsel Michael R. Levine, who filed a

motion to alter or amend the judgement under FRCP 59(e). ROA.18-

30694.453. The motion was supported with a memorandum and numerous

exhibits. ROA.18-30694.486-797. The district court denied that motion on

April 12, 2018. ROA.18-30694.798. The court reasoned, “Nothing asserted

in Cuff’s Motion moves the Court to alter or amend its prior judgment. Cuff

continues to make the same claims asserted in his federal habeas corpus

petition.” Id. Cuff filed a timely notice of appeal from the denial of both the

Section 2255 motion and the Rule 59(e) motion on June 1, 2018. ROA.18-

30694.817.

II. SUMMARY OF ARGUMENTS

      A. The Court should grant a COA on the first issue of whether the

government breached the plea agreement. Contrary to the opinion of the

district court, Cuff has established “cause” for failure to raise the issue on

direct appeal because he was unaware of the Texas indictment until after the

proceedings in the district court were completed and therefore could not

make the appropriate record in that court. He could not introduce new

evidence or a new issue for the first time on appeal.




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      On the merits, the government breached the promise in the Louisiana

plea agreement that the government would not bring any charges in Texas.

Moreover, the government secretly indicted Cuff in Texas and misled the

judge there to seal the indictment to keep Cuff from learning of its existence.

Because reasonable jurists could debate whether the government breached

the plea agreement, Cuff has met the threshold for issuance of a COA.

      B. The Court should grant a COA on the second issue of whether trial

counsel was ineffective in inadequately investigating Cuff’s mental condition

and mental defenses before advising him to plead guilty. Cuff’s attorney

Karns only began an adequate investigation after Cuff pleaded guilty.     Only

then did he learn that while in the military Cuff had been exposed to the anti-

malarial drug mefloquine, well-known for its serious neuropsychiatric effects

including sexual disinhibition. Only then did Karns learn from Dr. Nevin

and Dr. Stanulis that because of the brain-damaging effects of mefloquine,

Cuff had viable mental defenses to the charges. Because reasonable jurists

could debate whether Karns adequately investigated Cuff’s mental health and

possible mental defenses, Cuff has met the threshold for issuance of a COA.

      C. The Court should grant a COA on the third issue of whether trial

counsel was ineffective in failing to move for a competency hearing before

sentencing. Cuff’s sometimes strange and incoherent statements at the plea


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hearing, his assertion that he had PTSD but “believed” it was not affecting

him, and the reports of Dr. Nevin, Dr. Stanulis and other psychologists and

psychiatrists regarding brain damage caused by mefloquine strongly

suggested that there was a competency issue even before entry of the plea

much less before sentencing. Because reasonable jurists could debate whether

Karns was ineffective in failing to move for a competency hearing before

sentencing, Cuff has met the threshold for issuance of a COA.

      D. The Court should grant a COA on the fourth issue of whether the

trial court abused its discretion in denying the Rule 59 motion to reconsider

its opinion denying the 28 USC § 2255 motion. Cuff presented several

significant pieces of new evidence to the district court that should have

caused the court to reconsider its opinion. For example, Cuff presented a

Health Services Report from the Bureau of Prisons dated January 9, 2018,

observing that Cuff suffered from “mefloquine brain disorder.” In addition,

Cuff presented new evidence that the U.S. and U.K. militaries have ceased or

limited use of mefloquine due to its deleterious neuropsychiatric effects. Cuff

also introduced several scientific studies regarding the deleterious

neuropsychiatric symptoms in military members who used mefloquine.

Because reasonable jurors could debate whether the district court abused its




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discretion in denying the Rule 59 motion, Cuff has met the threshold for

issuance of a COA.

III. ARGUMENTS

   A. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
   WHETHER THE GOVERNMENT BREACHED THE PLEA
   AGREEMENT.

      It is well-settled law that if a guilty plea “rests in any significant degree

on a promise or agreement of the prosecutor, so that it can be said to be part

of the inducement or consideration, such promise must be fulfilled.”

Santobello v. New York, 404 U.S. 257, 262 (1971). This Court has held that

the government “must strictly adhere to the terms and conditions of its

promises.” United States v. Harper, 643 F.3d 135, 139 (5th Cir. 2011). Plea

agreements are “strictly construed against the Government as the drafter.”

United States v. Elashyi, 554 F.3d 480, 501 (5th Cir. 2008).

      It is equally well-settled that a guilty plea based on a breached plea

agreement “is subject to collateral attack under § 2255.” United States v.

Cates, 952 F.2d 149, 151–52 (5thCir. 1992). See also United States v.

Borders, 992 F.2d 563, 566 (5th Cir. 1993) (“A defendant may collaterally

attack his guilty plea on the grounds of an alleged violation of the plea

agreement.”). Whether the government’s conduct violated the terms of the




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plea agreement “is a question of law.” United States v. Palomo, 998 F.2d

253, 256 (5th Cir. 1993) (quotation omitted).

      The plea agreement at issue here provides, in pertinent part, that “[i]f

the Defendant completely fulfills all of his obligations and agreements under

this plea agreement, the Government agrees to dismiss the remaining Counts

of the Second Superseding Indictment after sentencing and it will not

prosecute the Defendant for any other offense known to the United States

Attorney’s Office, based on the investigation which forms the basis of the

Second Superseding Indictment.” ROA.18-30694.976-977. (emphasis added).

Unbeknownst to Cuff and his counsel, however, the Government obtained a

secret Indictment in the Western District of Texas that charged possession of

pornography and sex abuse of the child, the video of which conduct was

found on Cuff’s computer and which conduct enhanced his Louisiana

sentence. The government’s action breached the plea agreement.

      1. Cuff has established “cause” for failure to raise the issue on direct
appeal.

      When raising issues of jurisdictional or constitutional magnitude for

the first time on collateral review, “a defendant ordinarily must show both

cause for his procedural default and actual prejudice resulting from the

error.” United States v. Gaudet, 81 F.3d 585, 589 (5th Cir. 1996). In its

opinion denying relief, the district court held that it would not reach the

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merits of this claim because Cuff could not show “cause and prejudice” for

failing to raise the claim on direct appeal. ROA.18-30694.431-432. The

court acknowledged that Karns stated in his declaration that he was unaware

of the indictment in Texas and that had he been, he would never have advised

Cuff to plead guilty; however, the court held that appellate counsel should

have presented the declaration to the Court of Appeals. ROA.18-30694.432.

      Contrary to the district court’s holding, Cuff had good cause for not

raising the issue of breach of the plea bargain on appeal: he had nothing in

the record of the district court on which to base the appeal. As this Court

noted in its memorandum decision denying the appeal with respect to another

issue, “[a]lthough Cuff complains of prosecutorial misconduct, he did not

develop the facts supporting this claim, so we are not able to review it on

appeal.” ROA.18-30694.217.

      The claim of breach of the plea agreement could not be raised in the

district court because at the time neither Cuff not his attorney Karns was

aware that the breach had occurred. ROA.18-30694.255-259. It is true that

by the time of the direct appeal, appellate counsel was aware of the Texas

indictment; however, the court of appeals reviews errors only “based on the

record before the district court.” United States v. Ceron, 775 F.3d 222, 226

(5th Cir. 2014). This Court “may not consider new evidence furnished for


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the first time on appeal and may not consider facts which were not before the

district court at the time of the challenged ruling.” Theriot v. Parish of

Jefferson, 185 F.3d 477, 491 n.26 (5th Cir. 1999). See also Galbraith v.

United States, 313 F.3d 1001, 1007 (7th Cir. 2002) (“[a] reviewing court on

direct appeal is limited to the record of trial and cannot consider any extrinsic

evidence.”). The district court incorrectly stated that “Cuff was aware of the

Texas indictment at the time of his appeal and could have established facts in

order for the Fifth Circuit to review the present claim.” ROA.18-30694.432.

(emphasis added). This is not the case because an appellant cannot introduce

new facts for the first time on appeal; the record must be developed in the

district court.

       In sum, Cuff has shown good cause for failing to raise the issue on

direct appeal. Moreover, the prejudice from his failure to do so is likewise

clear: he has lost the opportunity to obtain a ruling from the district court on

the merits of the claim.

2. The government breached the agreement.

       Although a defendant bears the burden of proving the underlying facts

establishing a breach by a preponderance of the evidence, the Court construes

a plea agreement “like a contract, seeking to determine the defendant’s

reasonable understanding of the agreement and construing ambiguity against


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the Government.” United States v. Escobedo, 757 F.3d 229, 233 (5th Cir.

2014). Here, there can be no question that Cuff reasonably expected that the

plea agreement protected him from a prosecution in the Western District of

Texas for sexual assault of the child because he agreed the conduct would be

used to enhance his sentence in Louisiana. Karns’s declaration makes clear

that he confirmed this with both AUSA Walker and AUSA Gardes. ROA.18-

30694.256. This made sense because, as Karns was told, the Texas

prosecutor wanted to avoid a trial if possible in Texas where the young girl

would have to testify.

      The government argued in the district court that the Louisiana case and

the Texas case were not based on the same investigation and not related

because the Louisiana indictment dealt with child pornography, while the

Texas indictment dealt with child molestation. ROA18.30694.385. This

argument is specious. The government introduced the conduct underlying the

child molestation charges in Texas into the sentencing for the Louisiana

pornography crimes and obtained a five-level increase in the offense level

because of the molestation. Therefore, the Texas offenses were, in the words

of the plea agreement, “known to the United States Attorney’s Office” and

were based at least in part “on the investigation which forms the basis of the

Second Superseding Indictment.”


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         Pointing to language in the agreement that refers specifically “to the

United States Attorney’s Office” the government argued below that this

language bound only the U.S. Attorney in the Western District of Louisiana,

and not also the Western District of Texas, Id., but the record refutes this

claim.

         First, the agreement specifically uses the terms, “the Government” and

“United States” strongly implying that the whole government is bound.

ROA.18-30694.975-977, 980.

         Second, the Government did not limit that non-prosecution clause to

those offenses that could have been charged in the indictment, but agreed not

to prosecute Mr. Cuff for any offense known by the United States Attorney’s

Office based on the investigation which formed the basis of the Second

Superseding Indictment. The Louisiana prosecutor has never claimed (nor

could he) that he lacked knowledge of the videos that formed the potential

charges in Texas at the time he sought the Second Superseding Indictment.

         Third, nothing in the agreement states that it binds only the U.S.

Attorney in Louisiana. The government certainly knows how to insert such a

clause if it wants to. See, e.g., United States v. Al-Arian, 514 F.3d 1184,

1193 (11th Cir. 2008) (“The plea agreement expressly binds only the United

States Attorney’s Office for the Middle District of Florida and the


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Counterterrorism Section of the Department of Justice.”); United States v.

Tovar-Valencia, 2011 WL 6749051, at *2 (S.D.Tex. 2011) (“This Plea

Agreement binds only the United States Attorney’s Office for the Southern

District of Texas and the Defendant; it does not bind any other United States

Attorney.”); United States v. Hartwell, 302 F.Supp.2d 609, 618 (E.D.Va.

2004) (“Except where specifically noted, this plea agreement binds only the

United States Attorney's Office for the Eastern District of Virginia and the

defendant; it does not bind any other prosecutor in any other jurisdiction.”).

      This Court rejected similar arguments made by the government in

Elashyi, supra, 554 F.3d 480. In that case defendant Ishan and his brothers

were convicted of illegally exporting computer equipment to Libya and

Syria, among other crimes. Defendant Ishan argued his prosecution violated

a plea agreement he reached in an earlier case with his company called

Tetrabal. This Court agreed. In the earlier case, Ishan pled guilty to a single

count of making an unlawful shipment. In return, the Government agreed it

would not “seek, refer or prosecute any further criminal charges against him

arising out of the facts and circumstances known by the government at this

time surrounding his involvement in the crimes addressed in the superseding

indictment.” Id. at 500.




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      In Elashyi, the government’s plea agreement used language very

similar to that here. In rejecting the government’s argument that no breach

occurred, this Court reasoned that “the Government clearly knew at the time

of the plea offer about ‘facts and circumstances’ of the Libyan and Syrian

shipments that form the basis of the current prosecution. There is no question

that the present prosecution ‘arise [s] out of’ those shipments.” 554 F.3d at

500. This Court went on to hold that “the language of the plea agreement in

this case unambiguously extends to all crimes arising out of the conduct

alleged in the Tetrabal indictment, including shipments to Libya and Syria

that give rise to Ishan’s convictions in the present case.” Id. at 500–02.

      Furthermore, although this Court has apparently never decided the

question, see United States v. Cantu, 185 F.3d 298, 305 n.11 (5th Cir. 1999),

most other circuits hold that the promise of one U.S. Attorney binds other

U.S. Attorneys in different districts. E.g., United States v. Gebbie, 294 F.3d

540, 550 (3d Cir. 2002) (“[W]hen a United States Attorney negotiates and

contracts on behalf of ‘the United States’ or ‘the Government’ in a plea

agreement for specific crimes, that attorney speaks for and binds all of his or

her fellow United States Attorneys with respect to those same crimes and

those same defendants.”); United States v. Van Thournout, 100 F.3d 590, 594

(8th Cir. 1996) (holding that absent express limitation, any promises made by


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an Assistant United States Attorney in one district will bind an Assistant

United States Attorney in another district); United States v. Randolph, 230

F.3d 243, 249–51 (6th Cir. 2000) (when defendant pled guilty in Texas,

reasonably believing that plea agreement prohibited prosecution in

Tennessee, due process required reversal of conviction); United States v.

Harvey, 791 F.2d 294, 296 n.1 (4th Cir. 1986) (reference to “the Eastern

District of Virginia” in the plea agreement was ambiguous given that most of

the plea agreement referred to “the United States,” and construing the

ambiguity against the Government, holding “that [the plea agreement] must

be interpreted to prevent further prosecutions for such offenses anywhere and

by any agency of Government”). But see United States v. Annabi, 771 F.2d

670, 672 (2d Cir. 1985) (holding that “[a] plea agreement binds only the

office of the United States Attorney for the district in which the plea is

entered unless it affirmatively appears that the agreement contemplates a

broader restriction”).

       3. The government misled the federal judge in Texas when it moved to
seal the Texas indictment.

      The Government not only kept that fact of the Texas indictment from

Mr. Cuff and his counsel prior to the plea hearing in Louisiana, it did so by

misleading the Texas judge into sealing the Texas Indictment. In its motion

to seal the indictment, the Texas U.S. Attorney told the judge that the

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“disclosure of the existence of the [Texas] Indictment would seriously

jeopardize the ability of law enforcement to locate the Defendant and

apprehend him without incident.” ROA.18-30694.265.

      The government’s reason for sealing the indictment was purely

pretextual because the government well knew Cuff had been in federal

custody since July 2011 when he was arrested and detained in federal

district court in Texas and extradited to Louisiana. ROA.18-30694.32-34.

Indeed, On January 9, 2012, the government filed the Texas detainer on his

place of confinement in Louisiana. ROA.18-30694.321. The misleading of

the Texas judge to keep the Texas indictment hidden from the Cuff and his

lawyer was serious misconduct.

4. The breach of the plea agreement and the government’s misconduct
justifies vacating the guilty plea.

      The breach of the plea agreement justifies vacating Cuff’s plea of

guilty for three reasons:

      First, vacating the guilty plea is an appropriate remedy for breach of a

plea agreement. Santobello, 404 U.S. at 263 (specific performance or

withdrawing guilty plea appropriate remedy). That the Texas indictment was

dismissed on the government’s motion in 2015 because the BOP doctors

concluded that Cuff was incompetent does not matter. See id. (whether



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breach of bargain affected judge is irrelevant; case remanded to determine if

specific performance or withdrawal of plea proper remedy). Cf. United

States v. Taylor, 77 F.3d 368, 371 (11th Cir. 1996) (irrelevant that

government’s breach may not have influenced the sentencing judge); United

States v. Grandinetti, 564 F.2d 723, 726–27 (5th Cir. 1977) (“The question of

the effect on the district court of the prosecutor’s noncompliance with the

plea bargain was thus deemed irrelevant.”).

      Second, because the Texas indictment was obtained secretly and in

violation of the plea agreement and without Mr. Cuff’s knowledge before he

pleaded guilty, the government deprived Cuff and his counsel of the

knowledge of all the facts necessary to make an intelligent, knowing, and

voluntary plea. As such, the plea should be voided. See Bousley v. United

States, 523 U.S. 614, 618 (1998) (“A plea of guilty is constitutionally valid

only to the extent it is voluntary and intelligent.”).

      Third, the secretive manner in which the Texas indictment was

obtained prevented trial counsel Karns from rendering effective assistance of

counsel. Moreover, it manifestly demonstrates prosecutorial misconduct. Cf.

Berger v. United States, 295 U.S. 78, 88 (1935) (although the government

“may strike hard blows, [it] is not at liberty to strike foul ones.”); United

States v. McPhee, 731 F.2d 1150, 1152 (5thCir. 1984) (same). Secretly filing


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the Texas indictment and misleading the Texas judge to seal the indictment

and keep the knowledge of its existence from Cuff was a “foul blow”

warranting vacating of the Louisiana guilty plea.

      In sum, Cuff’s plea to the Louisiana indictment was induced in large

part by the understanding that he would not be prosecuted in Texas. The

government breached the agreement and committed misconduct by

misleading the Texas judge to keep knowledge of the Texas indictment from

Cuff. Therefore, Cuff should be permitted to withdraw his plea of guilty. See

Taylor, 77 F.3d at 372 (although court of appeals has choice of remedy, in

circumstances here, where government breached agreement, defendant

permitted to withdraw plea). As this Court has stated:

      It is in the best interests of the government, as well as the
      system as a whole, that defendants be able to count on the
      government keeping the promises it makes in order to secure
      guilty pleas. Those broader interests, as well as each individual
      defendant’s interest in receiving the benefit of his bargain,
      require that courts stand ready and willing to hold the
      government to its promises.

Id.

      4. Cuff has met the threshold for issuance of a COA.

      Even if this Court believes that Cuff will ultimately not prevail on

appeal with respect to this issue, the Court should still issue a COA because

the standard for issuance of a COA is only whether “jurists of reason would


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find it debatable whether the petition states a valid claim of the denial of a

constitutional right.” Slack v. McDaniel, 529 U.S. 473, 479 (2000); see Buck

v. Davis, 137 S.Ct. 759, 773 (2017) (reversing this Court’s misapplication of

the COA standard, stating “The COA inquiry, we have emphasized, is not

coextensive with a merits analysis. At the COA stage, the only question is

whether the applicant has shown that jurists of reason could disagree with the

district court's resolution of his constitutional claims or that jurists could

conclude the issues presented are adequate to deserve encouragement to

proceed further.”) (citations omitted).

      Furthermore, “a claim can be debatable even though every jurist of

reason might agree, after the COA has been granted and the case has received

full consideration, that petitioner will not prevail.” Miller-El v. Cockrell, 537

U.S. 322, 338 (2003). In sum, even assuming, arguendo, that this Court were

to ultimately deny the appeal on the merits, the Court should still grant the

COA on this issue.


B. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
WHETHER TRIAL COUNSEL WAS INEFFECTIVE IN NOT
ADEQUATELY INVESTIGATING CUFF’S MENTAL CONDITION
AND MENTAL DEFENSES BEFORE ADVISING HIM TO PLEAD
GUILTY.

      “Before deciding whether to plead guilty, a defendant is entitled to the

effective assistance of competent counsel.” Padilla v. Kentucky, 559 U.S.

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356, 364 (2010). To be effective, “counsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular

investigations unnecessary.” Strickland v. Washington, 466 U.S. 668, 691

(1984).

      Before advising a defendant that a guilty plea is the best defense

strategy, the defense attorney must first adequately investigate the facts

including the defendant’s mental status and possible mental defenses. See

Diaz v. Martin, 718 F.2d 1372, 1378 (5th Cir. 1983) (before advising a

defendant to plead guilty, “[i]t is essential that counsel be familiar with the

facts and the law, including potential defenses, so that he can fully advise the

defendant of options available to him.”); United States v. Edwards, 488 F.2d

1154, 1163 (5th Cir. 1974) (“This court has long recognized a particularly

critical interrelation between expert psychiatric assistance and minimally

effective representation of counsel.”). .

      Failing to reasonably investigate the facts and circumstances of a

defendant’s psychological health and mental state before formulating a

defense strategy can rise to the level of ineffective assistance. See Escamilla

v. Stephens, 749 F.3d 380, 392 (5th Cir. 2014) (“if a purportedly tactical

decision is not preceded by a reasonable investigation, then it is not

sufficiently informed and not entitled to the deference typically afforded


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counsel’s choices”); Weeden v. Johnson, 854 F.3d 1063 (9th Cir. 2017) (trial

counsel ineffective in failing to investigate psychological evidence about

effect of petitioner’s mental state before formulating defense strategy).

      Attorney Karns did not conduct the necessary investigation into Cuff’s

mental state and history with mefloquine before advising him to plead guilty.

Only after Cuff entered his guilty plea on March 5, 2012, did Karns learn that

Cuff had taken mefloquine during his military service, a powerful anti-

malarial drug that can cause irreparable brain damage. ROA.18-30694.1073.

at ¶12. Only after the guilty plea did Karns move ex-parte for authorization

to hire a psychologist and other experts to conduct testing on Cuff “to

diagnose mental and brain disorders from which Mr. Cuff suffers as a result

of exposure to traumatic combat events and exposure to medications known

to cause adverse psychiatric effects including depression and psychosis.”

ROA.18-30694.1072. at ¶5.

      Only on May 10, 2012, well after the plea of guilty, did Dr. Remington

Nevin determine that Cuff’s symptoms were consistent with the deleterious

effects of mefloquine. ROA.18-30694.1224-1226. Only after entry of the

guilty plea did Karns learn that Dr. Nevin diagnosed Cuff as suffering from

“limbic encephalopathy caused by use of mefloquine,” a condition whose

symptoms can be bizarre, unusual, and cause criminal conduct. ROA.18-


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3094.1098. at ¶7.

      Only after entry of the guilty plea did Dr. Nevin evaluate the records

related to Cuff and determine that he likely “suffered a deep brain or limbic

seizure” related to neurotoxicity from his early use of mefloquine, and that

his condition was “chronic and unstable.” ROA.18-30694.1328. Only after

entry of the guilty plea did Karns learn that both Dr. Nevin and Dr. Stanulis

concurred that “Mr. Cuff’s changes in sexual disinhibition and behavior are

to a reasonable degree of medical certainty the result of mefloquine

encephalopathy and neurotoxicity.” ROA.18-30694.1214-1218, 1326. Only

after entry of the guilty plea did Karns learn that Dr. Stanulis concluded that

“Mr. Cuff’s illegal behavior is the result of the adverse reaction to the

mefloquine he was ordered to take in a combat zone” and that in his opinion,

“this fact did not emerge until after Mr. Cuff’s pleas, and was not factored

into either his charges or potential defenses.” Id.

      Karns failure to do the investigation into Cuff’s mental status before

advising Cuff to plead guilty and his failure to learn about the Cuff’s use of

mefloquine and the brain damage associated with that use before advising

Cuff to plead guilty was ineffective assistance.

       In denying the Section 2255 motion, the district court stated that

Karns’s decision not to pursue a mental defense such as an insanity or


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diminished capacity defense “was strategic in the hopes of getting Cuff the

best possible deal.” ROA.18-30694.436. But an attorney’s decision cannot

be strategic if he has not uncovered the relevant facts that underlie the

decision. See e.g., Escamilla, supra, 749 F.3d at 392; Anderson v. Johnson,

338 F.3d 382, 392 (5th Cir. 2003) ( “counsel can hardly be said to have made

a strategic choice against pursuing a certain line of investigation when [he]

has not yet obtained the facts on which such a decision could be made.”).

        Moreover, the district court’s assertion is merely the court’s ipse dixit.

Nothing in the record supports the trial judge’s bald conclusion. There is no

declaration or testimony from Karns or any other person asserting that Karns’

decision was strategic. There was no evidentiary hearing. It is well-settled

that findings and conclusions of the district court are clearly erroneous if not

supported by the record. See, e.g., Cook v. U.S. Atty. Gen., 488 F.2d 667, 672

(5th Cir. 1973) (“This finding will not withstand the modest scrutiny required

by the clearly erroneous rule since it is simply not supported by the record.”).

The record supports the conclusion that Karns’s failure was not a product of

strategy, but a product of a failure to investigate, of negligence, and of

deficient performance.

      It may be that this Court will ultimately deny the appeal on the merits

of this issue. However, because reasonable jurists could differ on whether


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Karns adequately investigated Cuff’s prior use of mefloquine, the effects of

that use on Cuff’s mental state and his competence to plead guilty, and

whether there were available mental defenses, this Court should issue a COA.

      C. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
      WHETHER TRIAL COUNSEL WAS INEFFECTIVE IN NOT
      MOVING FOR A COMPETENCY HEARING BEFORE
      SENTENCING.

      To be legally competent the defendant must have “the capacity to

understand the nature and object of the proceedings against him, to consult

with counsel, and to assist in preparing his defense.” Drope v. Missouri, 420

U.S. 162, 171 (1975). Trial counsel has a duty to reasonably investigate any

competency issues related to his or her client, and failure to do so may rise to

the level of ineffective assistance. See Bouchillon v. Collins, 907 F.2d 589,

597 (5th Cir. 1990).

      Upon reviewing the reports of Dr. Nevin and Dr. Stanulis, and because

of certain incoherent statement made by Cuff at the plea hearing, Karns

should have moved for a competency hearing under 18 U.S.C. § 4241 before

entry of the guilty plea and, at the very least, before sentencing took place.

See Bouchillon, 907 F.2d at 597 (trial counsel ineffective in failing to

investigate client’s competence). Furthermore, the district court had a sua

sponte duty to call for such a hearing. See Mata v. Johnson, 210 F.3d 324,

330 (5th Cir. 2000) (court “must conduct an inquiry into the defendant’s

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mental capacity, either sua sponte or in response to a motion by petitioner’s

counsel, if the evidence raises a bona fide doubt as to his competency.”).

      1. Cuff’s strange and incoherent statements at the plea hearing and his
      assertion that he had PTSD but “believed” it was not affecting him
      were red flags strongly suggesting there was an issue with competence
      even at that stage of the proceeding.

      At a chambers conference before the entry of the plea, Karns alerted

the district court to the problems with Cuff’s mental status. ROA.18-

30694.884. At the time that Cuff entered his plea of guilty, the district court

asked him if he had medical problems in the past. He responded somewhat

strangely and incoherently: “I was told I did, but I was helped out of the

questioning [sic]. When you leave a war zone, they – the corpsman would

help me do the paperwork so I wouldn't fail it. [sic].” ROA.18-30694.861.

This strange and illogical answer is indicative of a thought disorder or mental

disturbance of some kind. The district court then asked Cuff if he suffered

from post-traumatic stress syndrome, and he responded, “I was told I did

since Somalia, Your Honor.” Id. The court then asked whether Cuff had

recovered from the PTSD, and Mr. Cuff responded, “No, Your Honor.”

ROA.18-30694.861-862. The Court then asked Cuff whether he was being

actively treated for the PTSD, and he responded that he was just starting

treatment. ROA.18-30694.862. Finally, the Court asked Cuff if was on any

kind of medication, and he responded he was not. Id.

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      Cuff’s illogical and strange answers and his statement that he had not

recovered from PTSD, should have raised a question for both trial counsel

and the district court as to whether Cuff was competent to plead, much less to

be sentenced. Indeed, the district court recognized a problem with Cuff’s

mental state because later in the plea colloquy, the court stated:

      In discussions held off the record before we convened today, I
      am concerned over not a mental competency issue, I’m
      concerned over a mental status issue, and I have provided
      counsel with the name of a local Ph.D. psychologist, clinical
      psychologist, who can conduct that. I am concerned that he
      may need to be on medication -- I don’t know the answer to
      that.

ROA.18-30694.884. It is difficult to understand how one can be concerned

about Cuff’s “mental status” yet not be concerned about his mental

competence.

      It is true that in its memorandum decision on direct appeal, this Court

stated that during the plea colloquy Cuff responded to questions appropriately

with no indication of mental deficiencies. ROA.18-30694.214-215. In so

finding, the Court overlooked the incoherent answers Cuff gave to the trial

judge. In any event, the issue here concerns Cuff’s competence to be

sentenced, which this Court did not address. As shown below, Cuff’s mental

health deteriorated substantially in the eight months between the time of the

plea and the time of sentencing.


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      At the plea colloquy Cuff told the trial court he was suffering from

PTSD and had not recovered from that disorder. PTSD is a serious mental

illness arising from experiencing, witnessing, or hearing about traumatic

events. “PTSD is not uncommon among veterans returning from combat.”

Porter v. McCollum, 558 U.S. 30, 36 (2009). Symptoms include “behaving

recklessly or in a self-destructive way.” Diagnostic and Statistical Manual of

Mental Disorders (DSM-V) (criterion E for PTSD). They also include

“having problems concentrating, experiencing events as if one were an

outside observer of or detached from oneself (e.g., feeling as if ‘this is not

happening to me’ or one were in a dream),” or experiencing events as

“unreality, distance, or distortion (e.g., ‘things are not real’).” Id. PTSD can

be “a grave affliction.” United States v. Cantu, 12 F.3d 1506, 1513 (9th Cir.

1993). The symptoms of PTSD can seriously impair a defendant’s ability to

understand legal proceedings and assist his attorney.

      2. The reports of Drs. Nevin and Stanulis with respect to brain damage
      caused by mefloquine raised serious questions as to Cuff’s competence
      to be sentenced.

      On May 10, 2012, two months before sentencing, Dr. Nevin examined

Mr. Cuff’s medical history and consulted with him by phone. Dr. Nevin

concluded that Cuff’s personality changes, profound impairment in short-

term memory, abnormal dreams, and anxiety and paranoid reactions were


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“consistent with possible late neurotoxic effects of limbic encephalopathy

caused by repeated mefloquine intoxication.” ROA.18-30694.567,1225. Dr.

Nevin observed that mefloquine intoxication has been associated with “a

morbid fascination with violence and violent objects, aggression, increased

impulsivity, and sexual inhibition.” Id.

      On about May 18, 2012, Mr. Cuff was found unresponsive after

complaining the evening before of a headache. Id. at 33. He was taken to

LSU Health Sciences Center where he was admitted with a diagnosis of

“altered level of consciousness and altered mental status, with a Glasgow

Coma Scale of 3.” Id. In Dr. Nevin’s opinion, Cuff’s symptoms were

“highly suspicious for a deep brain or brainstem seizure” and provided

“further support for the diagnosis of neurotoxic injury from his earlier use of

mefloquine.” Id. Dr. Nevin reviewed additional records and concluded that

they “further substantiate the assessment” that Cuff likely “suffered a deep

brain or limbic seizure related to neurotoxicity from his early use of

mefloquine,” and that his condition was “chronic and unstable.” Id.

      At the sentencing hearing on July 13, 2012, attorney Schweitzer

presented the reports of Dr. Nevin and Dr. Stanulis opining that Cuff suffered

from encephalopathy (brain damage) from his early use of mefloquine, and




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that such damage contributed to his criminal conduct. These reports were red

flags on the issue of Cuff’s competence to be sentenced.

3. Highly qualified and experienced mental health experts believe that before
sentencing Cuff’s deteriorating mental health required a competency
evaluation and hearing.

      The mental health experts who examined Cuff before and after his

sentencing were of the view that trial counsel should have sought a

competency determination before Cuff was sentenced.

      Dr. William Brown, Ph.D., was retained to do a sociological evaluation

of Cuff for sentencing. He had significant experience working cases

involving competency of criminal defendants. ROA.18-30694.1553-1557.

During his interviews of Cuff, he found that Cuff frequently acted in an

“irrational manner.” ROA.18-30694.1556. Dr. Brown shared his concerns

with Karns and with Dr. Stanulis. Id. In Dr. Brown’s opinion, “Mr. Cuff’s

competency should have been questioned by trial counsel based on his

interactions with Mr. Cuff and his family in January 2012, and based on all

the information known about Mr. Cuff prior to his sentencing.” ROA.18-

30694.1557.

     On December 6, 2014, Dr. Stanulis filed a declaration respecting his

opinion on Cuff’s competency to be sentenced. ROA.18-30694.1575-1579.

He declared that during his interviews of Cuff, he found him to be “slow to


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respond, distractible and at times irrational.” ROA.18-30694.1576. Dr.

Stanulis observed Cuff’s “irrational thinking in his interactions” with Karns.

Id. In his opinion Cuff’s mental condition was “severely impaired” before

sentencing took place. ROA.18-30694.1578. Dr Stanulis reviewed a letter

of April 4, 2014 from BOP psychiatrist, Dr. Herbel, in which Dr. Herbel

found Cuff incompetent to proceed in the Texas case. ROA.18-30694. 579.

Dr. Stanulis concluded that Cuff‘s “impaired mental condition was present to

a severe and incapacitating degree and that it rendered him incompetent” in

the proceedings before Judge Hicks. Id. Dr. Stanulis declared that in his

opinion Mr. Cuff’s competency should have been investigated before the

guilty plea hearing but in any event “at a minimum… before Mr. Cuff was

sentenced.” ROA.18-30694.1579. This is particularly true, declared Dr.

Stanulis, in light of Cuff’s “hospitalization at LSU.” Id.

      Dr. Susan J. Fiester, received her M.D. from the Yale School of

Medicine and is Board Certified in by the American Board of Psychiatry and

Neurology. ROA.18-30694.1604-1617. She was the expert forensic

psychiatrist who examined and evaluated Mr. Cuff on behalf of the defense

in the Texas prosecution. She submitted an eighteen-page affidavit that

reviewed Mr. Cuff’s mental condition and summarized the findings of the




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many psychological, psychiatric, and social history reports. ROA.18-

30694.1586-1603.

      Dr. Fiester reported that examinations near the time of Cuff's

sentencing showed the following symptoms and dysfunction which,

considered together, should have raised serious questions about his

competency to be sentenced: depression and psychomotor retardation,

impairment in judgment and insight, short-term memory problems, difficulty

with concentration, difficulty following multiple conversations, difficulty

with Intellectual processing, difficulty assembling his thoughts,

depersonalization and global paranoia. ROA.18-30694.1602.

      According to Dr. Fiester, Cuff also suffered many physical symptoms,

including: severe headaches and dizziness (that had previously interfered

with his expert evaluations) and sleep problems, leading to sleep deprivation

and fatigue) that may have significantly interfered with memory and the

cognitive and intellectual functions essential to competency. ROA.18-

30694.1602.

      Dr. Fiester reported that the reports of Dr. Byron Herbel supported her

opinion that Cuff’s mental condition continued to deteriorate as predicted by

other experts. Dr. Herbel is Cuff’s treating psychiatrist at Butner Federal

Medical Center and is the Bureau of Prisons' expert retained to oversee and


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treat Mr. Cuff’s mental condition for the Western District of Texas

prosecution. Id.

       It is Dr. Fiester’s professional opinion to a degree of reasonable

medical certainty, that “based on the evidence of Mr. Cuff’s worsening

mental state and extensive evidence of his overall deteriorated condition prior

to the July 2012 sentencing that defense counsel should have arranged for a

forensic psychiatric expert evaluation of Mr. Cuff to determine if he was

competent for sentencing.” ROA.18-30649.1603.

      Tellingly, because of Cuff’s incompetence to proceed, on February 17,

2015, the AUSA in the Western District of Texas moved to dismiss the Texas

indictment, and Judge Kathleen Cardone granted the motion. Appendix 1.

This supports the conclusion that Cuff’s mental status was progressively

worsening and that his competence should have been evaluated before

sentence was imposed.

      6. Cuff’s attorney on direct appeal reported contemporaneous to the
         sentencing hearing that Cuff’s mental health had deteriorated.

      On August 17 and 18, 2012, Mr. Cuff was visited by his counsel

representing him on direct appeal, Herbert Larson, Jr., and Sara Johnson.

ROA.18-30694.1618. Mr. Larson and Ms. Johnson observed Mr. Cuff to

have “a very ‘flat’ affect; this is, he did not respond with emotion to anything

that [his counsel] said; nor did he express any emotion with regard to any

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matters that he was discussing, even though some of these matters were . . .

highly charged emotionally.” Id. Cuff complained to counsel of nightly

nightmares and daydreams, and “could not always distinguish the difference

between what was real and what was imagined.” Cuff “was ‘having problems

with reality.” ROA.18-30694.1619. These observations by Mr. Larson and

Ms. Johnson, made just over a month after the sentencing hearing on July 13,

2012, add support to Dr. Stanulis’s and Dr. Fiester’s opinions that a

competency hearing should have been sought by trial counsel before the

sentencing hearing.

      5. Cuff’s statement at the guilty plea hearing that he did not believe he
      had a mental illness is not dispositive.

      In its opinion denying the Section 2255 motion, the district court relied

upon Cuff’s response at the plea colloquy that he did “not believe” that he

had a mental health problem that would limit his ability to understand what

was happening. Cuff’s statement is hardly a definitive statement of

competency. Moreover, the failure of certain mentally ill persons to

recognize their illness or the effect it is having is a well-known syndrome

called Anosognosia. In the words of one court, it is “the failure to appreciate

one’s own illness.” Struck v. Cook County Public Guardian, 901 N.E.2d

946, 948 (Ill. App. 2008). Anosognosia is a common consequence of brain

injuries. “A person grappling with a serious mental illness…cannot be

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assumed to have a reliable understanding of his faculties.” See Anderson v.

United States, 865 F.3d 914, 920 (7th Cir. 2017) (when defendant suffering

from multiple mental illnesses responded “as good as I can” to court’s

question whether he understood what was happening, his reply acknowledged

“some inability to think clearly and participate in the proceedings”). .

      In its opinion the district court relied on the principle that statements in

“open court during a plea hearing carry a strong presumption of verity.”

United States v. Martinez-Molina, 64 F.3d 719, 733 (5th Cir. 1995) (citing

Blackledge v. Allison, 431 U.S. 63, 74 (1977)). While this principle is true in

general, it applies with much less force in the case of a person who suffers

from a mental illness. See, e.g., Anderson, 865 F.3d at 920 (“Anderson’s

belief about the effects of his medication is inadequate assurance that he was

capable of entering a plea: A person grappling with a serious mental illness

or under the influence of psychotropic drugs cannot be assumed to have a

reliable understanding of his faculties.”).

      Additionally, Cuff’s mental health was deteriorating between the time

of the plea and the time of sentencing. Thus, Cuff’s statement about his

competence at the time of plea hearing is not determinative of his

competence at sentencing, which occurred about eight months later.




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      6. Mr. Karns’ opinion of Cuff’s competence is not dispositive.

      In finding that Cuff was competent to be sentenced, the district court

relied on the opinion of trial counsel Karns at the time of the plea that Cuff

was competent to proceed. This reasoning is flawed because Karns’ opinion

as to Cuff’s mental state at the time of the plea is not dispositive of Cuff’s

mental state at the time of the plea much less at the time of sentencing eight

months later.

      Furthermore, while it is true that in the usual case trial counsel’s

opinion as to his client’s mental state appropriately carries great weight, the

law is clear that lawyers have no special ability to diagnose mental illnesses

and their effects on their clients’ mental state. See Bouchillon, 907 F.2d at

593–94 (“the state court, in reviewing Bouchillon's petition, relied almost

exclusively on the evidence of Bouchillon’s demeanor at the plea proceeding

and the testimony of his trial counsel to hold that he was competent . . . [T]he

existence of even a severe psychiatric defect is not always apparent to laymen

. . . . One need not be catatonic, raving or frothing, to be [legally

incompetent.]”) (citations omitted); Maxwell v. Roe, 606 F.3d 561, 574 (9th

Cir. 2010) (“[A]lthough we acknowledge that defense counsel will often have

the best-informed view of the defendant’s ability to participate in his defense,

we have recognized that counsel is not a trained mental health professional


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and his failure to raise petitioner’s competence does not establish that

petitioner was competent.”) (citations omitted). Therefore, Karns’ opinion at

the time of the guilty plea is not dispositive of Cuff’s mental state at that

time, much less at the time of sentencing.

        In sum, given Cuff’s worsening mental state between the plea and the

sentencing, Karns should have moved for competency hearing before the

court imposed a sentence. His failure to do so was ineffective assistance.

Ultimately, it may be that this Court will deny the appeal on the merits of this

issue. However, because reasonable jurists could differ on whether Karns

should have requested a competency hearing before sentence was imposed,

this Court should issue a COA.

D. THE COURT SHOULD GRANT A COA ON THE ISSUE OF
WHETHER THE TRIAL COURT’S ABUSED ITS DISCRETION IN
DENYING THE RULE 59 MOTION.1

      Fed. R. Civ. P. 59 (e) grants the court the power to alter or amend its

judgment. A motion under this rule “serves the narrow purpose of allowing a

party to correct manifest errors of law or fact or to present newly discovered

evidence.” Waltman v. International Paper Co., 875 F.2d 468, 473 (5th Cir.

1989) (emphasis added). The district court has broad discretion with respect



1
 Cuff is not certain whether a COA is necessary to appeal the denial of this motion, but he
seeks one in an abundance of caution.

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to granting this motion, but “reconsideration of a judgment after its entry is

an extraordinary remedy that should be used sparingly.” Id. at 479. In

exercising its discretion, “a district court must strike the proper balance

between the need for finality and the need to render just decisions on the

basis of all the facts.” Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995).

      Cuff’s Rule 59 motion was based on new evidence that was not before

the district court when the court denied the 2255 motion. At the sentencing

hearing on July 13, 2012, attorney Schweitzer presented the reports of Drs.

Nevin and Stanulis concluding that Cuff suffered from limbic

encephalopathy (brain damage) from his early use of mefloquine, and that

such damage contributed to his criminal conduct. The district court disagreed

with and was highly skeptical of these conclusions. See ROA.18-30694.890.

lines: 10-11 (“I realize you say it’s unquestionably. I question that myself

with respect to those conclusions [of Dr. Nevin].”); ROA.18-30694.891.

(“Nor does it mean that I have to accept [Dr. Nevin’s conclusion] on its face,

as an expert opinion.”).

      The district court was of the view that the conclusion of Drs. Nevin

and Stanulis respecting the effects of mefloqine were “more cutting-edge

theory than . . . accepted fact.” ROA.18-30694.893. The court went on to

say, “On its face, [the conclusion of Dr. Nevin] does not meet a Daubert


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standard, in the Court’s opinion. The Court finds that this is a cutting-edge

issue and is by no means accepted fact.” Id. ROA.18-30694.919(that Cuff

has encephalopathy “is a theory, supposition. The perseveration is consistent

with but is not diagnosed as encephalopathy.”).

      In his Rule 59 motion, Cuff asked the court to reconsider its skepticism

of the conclusions of Dr. Nevin and Dr. Stanulis in light of the new exhibits

and new evidence presented in the motion. This evidence was discovered

after April 4, 2014, the date the 2255 motion was filed and had not been seen

by the district court. The court denied the Rule 59 motion saying, in essence,

that Cuff had presented nothing new. In so holding the district court failed to

adequately consider the following items of new evidence presented in the

Rule 59 motion and, therefore, abused its discretion.

      1. The Bureau of Prisons health report by Dr. Vynedra Smith
      diagnosing Cuff with mefloqine brain disorder.

      Cuff presented a Health Services Report from the Bureau of Prisons

(Exhibit 12 to the Rule 59 motion). ROA.18-30694.699-732. The report

noted that as of January 9, 2018, Dr. Vynedra Smith diagnosed Cuff as

suffering, among other illnesses from “mefloquine brain disorder.” ROA.18-

30694.710 (emphasis added). ROA.18-30694.719. Cuff was also diagnosed

as suffering from non-Hodgkin’s “stage IV diffuse large B cell lymphoma,” a

type of blood cancer. ROA.18-30694.710.

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      Dr. Smith’s conclusion that Cuff suffered from “Mefloquine brain

disorder,” was significant new evidence that confirmed the conclusions of

Drs. Nevin and Stanulis that at the time of his criminal conduct, Cuff was

suffering from a brain disorder caused by use of mefloquine. This evidence

should have substantially undermined the district court’s skepticism and

conclusions in its judgment denying the Section 2255 motion.

      2. New evidence of brain damage caused by antimalarial drug
      mefloquine regarding members of the U.K. military.

      Cuff introduced an article by Ashley Croft published November 12,

2015, in the Pharmaceutical Journal, Mefloquine, Madness, and the Ministry

of Defence (Exhibit 6 to Rule 59 motion). ROA.18.30694.638-643. The

article argued that the “overwhelming evidence about the dangers of long-

term use of mefloquine leaves the UK Ministry of Defense little excuse to

continue giving this drug.” ROA.18.30694.638. Evidence that the United

Kingdom was being advised to discontinue the use of mefloquine was

significant new evidence not previously presented to the district court. The

evidence also confirmed the conclusions of Dr. Nevin and Dr. Stanulis with

respect to the deleterious effects of mefloquine.




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      3. New evidence of a scientific study regarding neuropsychiatric
      symptoms in military members and the change in the military’s
      position regarding mefloquine.

      Cuff presented a study published on June 8, 2016 by Livezy, Oliver, &

Cantilena, Prolonged Neuropsychiatric Symptoms in a Military Service

Member Exposed to Mefloquine (Exhibit 1 to Rule 59 motion). ROA.18-

30694.513-518. This study presented new evidence to the district court that

“Due to the increasing awareness of these neuropsychiatric side effects, the

United States military relegated mefloquine to a third-line medication behind

doxycycline and Malarone (atovaquone-proguanil) for prophylaxis in areas of

chloroquine-resistant malaria, such as Afghanistan. Consequently, from

2008 to 2013, the use of mefloquine in the military has decreased

dramatically.” Id. at 516. The study emphasized that “[m]efloquine-induced

neuropsychiatric symptoms can be severely life debilitating [and] Mefloquine

toxicity can persist for several years after exposure has been discontinued,

with little to no abatement in symptoms over time.” Id.

      This significant new evidence was not seen before by the district court.

The evidence also confirmed the conclusions of Dr. Nevin and Dr .Stanulis

that Cuff may well have suffered from brain damage related to the effects of

mefloquine.




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      4. New evidence of mental health disorders connected to the use of
      mefloquine.

      Cuff presented and article published 2015 from Academy of

Psychosomatic Medicine, Depersonalization/Derealization Disorder after

Exposure to Mefloquine (Exhibit 2 to Rule 59 motion). ROA.18-30694.526-

530. Authored by Doctors Katherine McEvoy, Blair Anton, and Margaret S.

Chisolm, the article reviews the case studies of persons suffering psychiatric

symptoms from mefloquine use, namely “depersonalization/derealization

disorder” (DDD). According to the authors, DDD “attacks the core of one’s

core sense of self.” ROA.18-30694.527. This study supports the conclusions

of Dr. Nevin and Dr. Stanulis that Cuff suffered brain damage from the use of

mefloquine that could have contributed to his sexual disinhibition and

criminal conduct.

      5. New evidence of debilitating effect of behavioral disorders
      connected to the use of mefloquine.

      Cuff presented an article published 2015, Behavioral effects of

Mefloquine in tail suspension and light/dark tests (Exhibit 3 to Rule 59

motion). ROA.18-30694.519-525. Authored by John Michael Holden,

Richard Slivicki, Rachel Dahl, Xia Dong, Matt Dwyer, Weston Holley, and

Crissa Knott, the article noted that “[i]n the past 10-15 years concerns about

mefloquine’s neuropsychiatric side effects have grown.” This significant


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new evidence was not seen before by the district court. The evidence also

confirmed the conclusions of Dr. Nevin and Dr. Stanulis that Cuff may well

have suffered brain damage from the use of mefloquine.

      6. New evidence of findings about Mefloquine Intoxication Syndrome.

      Cuff presented an article published 2015 by Dr. Remington Nevin and

Dr. Elspeth Ritchie, The Mefloquine Intoxication Syndrome: A Significant

Potential Confounder in the Diagnosis and Management of PTSD and Other

Chronic Deployment-Related Neuropsychiatric Disorders (Exhibit 10 to Rule

59 motion). ROA.18-30694.662-683. The authors observe that acute

mefloquine intoxication “may produce vivid, hyper-realistic nightmares that

may precede a manic, paranoid, dissociative or confuse psychosis, often

marred by horrific auditory and visual hallucinations.” ROA.18-30694.662.

They also observe that commonly reported symptoms of acute mefloquine

intoxication include “anxiety, paranoia, and persecutory mania, panic attacks,

emotional liability and aggression.” ROA.18-30694.666. The symptoms also

include “psychosis, magical thinking, grandiose thoughts . . . and delusions.”

Id.

      This significant new evidence was not seen before by the district court.

The evidence confirms the conclusion of Dr. Nevin and Dr Stanulis that that




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Cuff may well have suffered brain damage related to the effects of

mefloquine.

      7. New evidence of debilitating effect of behavioral disorders
      connected to the use of mefloquine and resulting rare use of the drug
      by U.S. military.

      Cuff presented an article published October, 2016 in the Federal

Practitioner, authored by Dr. Nevin and Dr. Ritchie, FDA Black Box, VA Red

ink? (Exhibit 9 to Rule 59 motion) ROA.18-30694.657-661. The authors

observe that in July 2013, the Food and Drug Administration “included a

black box warning describing [neuropsychiatric reactions which] potentially

could persist long after the drug has been discontinued . . . . Consequently,

more than a quarter century after its introduction, mefloquine now is only

rarely prescribed to members of the U.S. military.” ROA.18-30694.657.

      This significant new evidence was not seen before by the district court.

The evidence also confirmed the conclusions of Dr. Nevin and Dr Stanulis

that that Cuff may well have suffered from brain damage from his use of

mefloquine.

              8. New evidence of a petition for guardianship filed by Cuff’s
              wife and sister alleging Cuff was incompetent to handle his own
              affairs.

              As Exhibit 13 to the Rule 59 motion, Cuff presented a petition

for Guardianship that had been filed by his sister and his wife in the Circuit


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Court of Harrison, Mississippi on November 17, 2017. ROA.18-30694.733-

738. In the petition, both Cuff’s mother and sister agree that Cuff was

incompetent to handle his own affairs and was in need of a guardian. Id. This

significant new evidence was not seen before by the district court. The

evidence also confirmed the diagnosis of Dr. Nevin and Dr. Stanulis that Cuff

may well have suffered from brain damage from his use of mefloquine. As

of this date the petition has not yet been acted upon.

     9. New evidence that Dr. Nevin’s conclusions are now part of Cuff’s
Navy medical records.

      As Exhibit 4 to the Rule 59 motion, Cuff presented Cuff’s Navy

medical records to the district court which contain Dr. Nevin’s reports and

diagnoses respecting Cuff’s neurological damage stemming from his use of

mefloquine. See District Court Docket 763-4, pages 31-38. (For reasons

unknown, undersigned counsel has been unable to determine the electronic

record number on appeal assigned to these records). Evidence that Cuff’s

Navy medical records now contain the diagnosis of Dr. Nevin should have

persuaded the district court to reconsider its skepticism of the conclusions of

Dr. Nevin and Dr. Stanulis.

      In sum, in his Rule 59 motion, Cuff adduced nine new exhibits

presenting evidence that was discovered after the date of the filing of the

2255 motion. Taken separately and together, the new evidence strongly

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supported the conclusions of Drs. Nevin and Stanulis that Cuff suffered from

brain damage from the use of mefloquine that may well have contributed to

his criminal conduct. This new evidence should have substantially

undermined the district court’s skepticism about the conclusions of Dr. Nevin

and Dr. Stanulis. The district judge’s finding that nothing presented in the

Rule 59 motion persuaded him to change his mind about the merits of the

2255 motion demonstrates the court’s failure to adequately consider and

weight relevant new evidence. In short, the district court’s denial of the Rule

59 motion demonstrates a clear abuse of discretion.

      It may be that this Court will ultimately deny the appeal on the merits

of this issue. However, because reasonable jurists could differ on whether

the district court abused its discretion in denying the Rule 59 motion, this

Court should grant a COA on this issue.

                               CONCLUSION

      The issue presently before this Court is not whether Cuff will

ultimately prevail on the merits of any of his claims. That remains to be

seen. But he certainly meets the test established by the Supreme Court in

Miller-El v. Cockrell, 537 U.S. 322, 326 (2003) for the issuance of a COA:

       Consistent with our prior precedent and the text of the habeas
       corpus statute, we reiterate that a prisoner seeking a COA need
       only demonstrate “a substantial showing of the denial of a
       constitutional right.” 28 U.S.C. § 2253(c) (2). A petitioner

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       satisfies this standard by demonstrating that jurists of reason
       could disagree with the district court's resolution of his
       constitutional claims or that jurists could conclude the issues
       presented are adequate to deserve encouragement to proceed
       further. Slack, supra, at 484, 120 S.Ct. 1595. Applying these
       principles to petitioner's application, we conclude a COA
       should have issued.

      As in Miller-El, the Court should issue a COA here with respect to

each of the claims set forth above.

                                              Respectfully Submitted:

                                              /s/Michael R. Levine
                                              Michael R. Levine




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                 APPENDIX




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS j.                                  7.-s
                                EL PASO DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
       Plaintiff,                                §
                                                 §

                              C                  §        NO. EP:11-CR-03016-KC

ROBERT

                         DefendafltL,,/'
                                                 §


                                           ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of

Court endorsed herein, the Acting United States Attorney for the Western District of Texas

hereby dismisses without prejudice the Criminal Indictment pending against Defendant,

ROBERT E. CUFF.

                                                 Respectfully submitted,

                                                 RICHARD L. DURB[N
                                                 ACT1N     ITED STATES ATTORNEY


                                            BY
                                                  IAN MAR E HANNA
                                                  Assistant U.S. Attorney
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                                                  700 E. San Antonio, Suite 200
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                                                  (915) 534-6884


        Leave of Court is granted for the filing of the foregoing dismissal.



                                                           THLEEN CARDONE
                                                         UNITED STA'I'ES DISTRICT JUDGE

DATE:
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                   CERTIFICATE OF COMPLIANCE



I certify that the accompanying brief is in “14” type and contains 12,532

words excluding the Table Contents and Table of the Authorities.



/s/ Michael R. Levine




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                       CERTIFICATE OF SERVICE

      I, Michael R. Levine, hereby certify that I caused to be served the

above Brief in Support of Motion for a Certificate of Appealability by ECF in

the Western District of Louisiana. All parties are signed on to this service.

                                       /s/ Michael R. Levine
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